                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       No.  3:06-CR-170
v.                                                    )       (JORDAN/SHIRLEY)
                                                      )
                                                      )
FERNANDO TIJERINA,                                    )
                                                      )
                       Defendant.                     )


                            REPORT AND RECOMMENDATION

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case came before the Court on September 10, 2007, for a motion

hearing on Defendant Tijerina’s Motion to Suppress. [Doc. 13.] Assistant United States Attorney

Tracee Plowell was present representing the government. Attorney Brian J. Hunt was present

representing Defendant Tijerina, and attorney Charles Flood was present representing Defendant

Rodriguez. Defendants Tijerina and Rodriguez were also present.

               Defendant Tijerina (“Defendant”) moves the Court to suppress all evidence obtained

by law enforcement officers during the execution of the search warrant on Defendant’s residence

on May 26, 2006. Defendant also moves the Court to suppress the photo identification performed

by confidential informant “Harmon.” Defendant contends that the search warrant, in setting forth

the items to be seized, used the following language: “The property to be searched for include but are

not limited to. . . .” Defendant contends that the use of this open ended phrase violates the

particularity requirement of the Fourth Amendment and that the fruits of the search should be




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suppressed. The Defendant also argued orally at the motion hearing that a “shed” was searched and

was not described in the search warrant as a place to be searched. With respect to the photo

identification, Defendant contends that the identification was unduly suggestive and involved a

substantial likelihood of irreparable misidentification, and thus should be suppressed. Because no

evidence, other than the search warrant was introduced, and because the arguments were based

solely on the language of the search warrant, a four corners review of the search warrant is the

proper analysis in this case.

       I.      Search Warrant

               Defendant first objects to the execution of the warrant in this case, contending that

the warrant was overbroad and did not describe the items to be seized with particularity. The Fourth

Amendment requires that search warrants describe the items to be searched for and seized with

particularity so as to “eliminate the danger of unlimited discretion in the executing officer’s

determination of what is subject to seizure.” U.S. Const. amend. IV.; United States v. Greene, 250

F.3d 471, 476-77 (6th Cir. 2001) (citing United States v. Blakeney, 942 F.2d 1001, 1026 (6th Cir.

1991)). While a “general order to explore and rummage” is not permitted, id., “the degree of

specificity required is flexible and will vary depending on the crime involved and the types of items

sought.” Greene, 250 F.3d at 477 (citing United States v. Ables, 167 F.3d 1021, 1033 (6th Cir.

1999)). Consequently, a description is “valid if it is as specific as the circumstances and the nature

of the activity under investigation permit.” Id. However, infirmity due to overbreadth does not

doom the entire warrant; rather, it “requires the suppression of evidence seized pursuant to that part

of the warrant. . ., but does not require the suppression of anything described in the valid portions

of the warrant (or lawfully seized–on plain view grounds, for example-during their execution).”


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Greene, 250 F.3d at 477 (citing United States v. Brown, 984 F.2d 1074, 1077 (6th Cir. 1993)).

               During the hearing, the government submitted into evidence the Affidavit &

Application For A Search Warrant (the “Affidavit”) as Exhibit 1. The Affidavit states, in pertinent

part, that:

               The list of certain property, items, articles, instruments, to be
               searched for and seized are located in FORSYTH County, Georgia
               and are specifically described as follows: the items to be searched for
               include the following, but are not limited to marijuana, contraband,
               controlled substances, packaging material, scales, pies and drug
               ledgers depciting/referencing the sale, transactions, or distribution of
               said narcotics. Address and/or telephone books, records, credit card
               statements, invoices, receipts, financial statements, currency, money
               wrappers and other items evidencing the obtaining, secreting, transfer
               concealment and/or expenditure of money constituting the proceeds
               of drug trafficking. Electronic equipment such as computers,
               currency counting machines, cellular phones and related equipment
               used to generate, transfer, count, record/or store the information
               described in this paragraph. Indicia of occupancy, residency, rental
               and/or ownership agreements, utility bills, telephone bills, keys to
               vehicles, firearms and ammunition. The curtilage of the residence is
               to be searched as well as any and all outbuildings, sheds,
               vehicles/person(s) on the property. Any persons or vehicles that
               arrive on the property during the execution of the warrant.

[Exhibit 1.] Thus, it is clear that the Affidavit sets forth a detailed list of items to be searched for

and seized and the Court finds this list of items comports with the Fourth Amendment’s particularity

requirement. However, by using the language “the items to be searched for include the following,

but are not limited to,” the Affidavit does create the possibility that items not described with

particularity might be seized. During the hearing, the Court inquired as to whether any items not

described with particularity were seized during the execution. Both parties agreed that all of the

items actually seized were items contained in the list and thus were described with particularity.




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               As the Court noted above, in this instance, the law does not require the suppression

of seized items that were described with the proper level of particularity, only those items not

properly described. Greene, 250 F.3d at 477. Given that apparently no items falling under the

Affidavit’s “include the following, but are not limited to” language were seized, there is nothing for

the Court to suppress. Had there been, the Court would likely have recommended they be

suppressed absent an independent showing of a basis for their seizure. With regard to the “shed”

argument, the Court notes that the search warrant indicates that “[t]he curtilage of the residence is

to be searched as well as any and all outbuildings, sheds, vehicles/person(s) on the property.” Thus,

the “shed” issue is without merit. Accordingly, the Court RECOMMENDS that Defendant’s

motion to suppress [Doc. 39] be denied with respect to the execution of the search warrant.

       II.     Photo Identification

               Defendant next objects to any use by the government of a prior photo identification

of Defendant by confidential informant “Harmon.” Defendant contends that the photo identification

was impermissibly suggestive, thus rendering it unconstitutional. In a supplemental response, the

government has indicated that it will not seek to introduce the photo identification at trial. Given

that the proper remedy for an impermissible identification is the suppression of the identification,

Simmons v. United States, 390 U.S. 377 (1968), and given that the government has agreed not to

use the photo identification at trial, the Court RECOMMENDS that Defendant’s motion be

DENIED as moot with respect to the photo identification, based on the government’s agreement

noted above.




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        III.       Conclusion

                   For the foregoing reasons, the Court respectfully RECOMMENDS that Defendant

Fernando Tijerina’s Motion to Suppress [Doc. 39] should be DENIED with respect to the evidence

obtained from the execution of the search warrant and DENIED as moot with respect to the photo

identification.1

                                                     Respectfully submitted,


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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          Any objections to this Report and Recommendation must be served and filed with the
clerk of the court within ten (10) days after service of a copy of this recommended disposition on
the objecting party. Such objections must conform to the requirements of Rule 72(b), Fed. R.
Civ. P. Failure to file objections within the time specified waives the right to appeal the District
Court’s order. Thomas v. Arn, 474 U.S. 140 (1985). The District Court need not provide de
novo review where objections to this report and recommendation are frivolous, conclusive, or
general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are
reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373
(6th Cir. 1987).

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